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U.S. Department of Justice

Antitrust Division

 

 

Liberty Square Building

450 5" Street, NW
Washington, DC 20001

November 15, 2019

The Honorable Leda Dunn Wettre

United States District Court for the

District of New Jersey

Martin Luther King Building & U.S. Courthouse
50 Walnut Street

Newark, NJ 07101

Re: Roofer’s Pension Fund v, Perrigo Company, ple, et al., No. 16-CV-02805-
MCA-LDW Request to Extend Limited Stay of Discovery

Dear Judge Wettre:

On October 16, 2019, the Court granted the limited stay of discovery relating to
the pricing, sale, and marketing of Perrigo Company, plc’s (“Perrigo”) domestic generic
pharmaceuticals that was agreed upon by the parties in the above-captioned action, as
well as in the Individual Actions,! until November 15, 2019 (the “October Order”). Under
Local Rule 37.1, the United States now writes to respectfully request that the Court
extend the October Order until March 15, 2020, or grant the United States leave to file a
motion to request an extension of the limited stay.

As discussed in the October 10, 2019 letter to the Court, the United States
anticipated that it might need an extension of the stay based on the status of its ongoing
criminal investigation. The United States and the parties negotiated in good faith

 

! The Individual Actions are: Carmignac Gestion, S.A. v. Perrigo Company plc, et al.,
No, 2:17-cv-10467-MCA-LDW, Manning & Napier Advisors, LLC v. Perrigo Company
ple, et al., No. 2:18-cv-674-MCA-LDW, Mason Capital L.P., et al. v. Perrigo Co. plc, et
al., No. 2:18-cv-1119-MCA-LDW, Pentwater Equity Opportunities Master Fund Ltd., et
al. v. Perrigo Co. plc, et al., 2:18-cv-1121-MCA-LDW, Harel Insurance Company, Ltd,
et al. v. Perrigo Company plc, et al., 2:18-cv-02074-MCA-LDW, First Manhattan Co. v.
Perrigo Company plc, et al., No. 2:18-cv-02291-MCA-LDW, TIAA-CREF Investment
Management, LLC, et al. vy. Perrigo Company plc, et al., No. 2:18-cv-08175-MCA-LDW,
Nationwide Mutual Funds, et al. v. Perrigo Company plc, et al., No. 2:18-cv-15382-
MCA-LDW, WCM Alternatives: Event-Driven Fund, et al. v. Perrigo Co., ple, et al., No.
2:18-cv-16204-MCA-LDW, Hudson Bay Master Fund Ltd., et al. v. Perrigo Co., plc, et
al., No. 2:18-cv-16206-MCA-LDW, Schwab Capital Trust, et al. v. Perrigo Co. plc, et
al., No. 2:19-cv-03973-MCA-LDW, OZ Master Fund, Ltd, et al. v. Perrigo Co., plc, et
al., 2:19-cv-04900-MCA-LDW, Aberdeen Canada Funds-Global Equity Fund, et al. y.
Perrigo Co. plc, et al., No. 2:19-cv-06560-MCA-LDW.

 
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regarding an extension of the stay, but are unable to reach an agreement.” The United
States thus requests an extension of the stay and further requests that the relief be granted
both in the above-captioned action as well as in each of the Individual Actions. Lead
Plaintiff and Individual Action Plaintiffs oppose the United States’ requests for relief.
Defendants take no position on the United States’ requests for relief.

Factual Background

For several years, the United States has been conducting a criminal investigation
of companies and individuals in the generic pharmaceuticals industry for possible
collusion to inflate drug prices, allocate the market, and rig bids in violation of Section 1
of the Sherman Act, 15 U.S.C. § 1. While significant portions of the criminal
investigation remain non-public, it continues to advance. In late May of this year, the
United States announced its first corporate resolution when Heritage Pharmaceuticals
entered into a Deferred Prosecution Agreement accepting responsibility for participating
in a conspiracy to suppress and eliminate competition in the generic pharmaceuticals
industry by allocating customers, rigging bids, and fixing and maintaining prices for
glyburide, and agreed to pay more than $7 million in both a criminal penalty and civil
damages. Pharmaceutical Company Admits to Price Fixing in Violation of Antitrust Law,
Resolves Related False Claims Act Violations, https://www.justice.gov/opa/pr/
pharmaceutical-company-admits-price-fixing-violation-antitrust-law-resolves-related-
false. The United States has provided the Court with additional detail in the Declaration
of Ryan Danks, filed ex parte and in camera (the “Danks Declaration”), and its related
exhibits. As evidenced by this civil action, Perrigo, like many generic pharmaceutical
companies, has been affected by this investigation.

Because civil discovery, in this case as well as others that raise certain common
factual issues, would interfere with that ongoing criminal investigation, the United States
has taken steps to minimize such interference, while carefully balancing the interests of
the courts, the parties, and the public in pursuing resolution of these civil lawsuits in a
timely fashion. For example, in December 2016, the United States intervened in a civil
RICO lawsuit filed by Heritage Pharmaceuticals against its two former executives who
had already pled guilty to criminal antitrust violations. See Order, Heritage
Pharmaceuticals Inc. v. Glazer, 3:16-cv-08483-TJB, ECF No. 24 (D.N.J. Dec. 13, 2016).
In that case, as a result of successful negotiations between the United States and all
parties, the Court imposed a complete stay of discovery lasting over two years until the
case resolved by stipulated dismissal. See e.g., Order, Heritage Pharmaceuticals Inc. v.
Glazer, 3:16-cv-08483-TJB, ECF No. 52 (D.N.J. Feb. 14, 2018) (extending stay of
discovery).

Similarly, in January 2017, the United States intervened in a Multidistrict
Litigation involving various plaintiffs’ lawsuits alleging price fixing and other antitrust
violations against several defendant generic pharmaceutical companies. See Order, Jn re:
Generic Pharmaceuticals Pricing Antitrust Litig., 2:16-MD-2724, ECF No. 108 (E.D. Pa.
Jan. 6, 2017).’ There, the United States has also successfully negotiated with plaintiffs

 

* The parties have agreed to abide by the terms of the October Order until the Court’s
conference on November 25, 2019.
3 Perrigo is a named defendant in some of the MDL lawsuits. See, e.g., Opinion,
- Appendix A, In re: Generic Pharmaceuticals Pricing Antitrust Litig., 2:16-MD-2724,
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and defendants to implement reasonable limits on discovery that have permitted most
discovery in the case to proceed while preserving the integrity of the ongoing criminal
investigation. As a result of these efforts, for almost two and a half years, the MDL court
has ordered that certain discovery be stayed, which has protected DOJ’s investigation
without unduly impeding the civil discovery process. Today, all written discovery may
proceed after first providing the United States advance notice and an opportunity to
object. Pretrial Order No. 96 § 4, Jn re: Generic Pharmaceuticals Pricing Antitrust Litig.,
2:16-MD-2724, ECF No. 1046 (E.D. Pa. July 12, 2019). Under that same order, most
depositions remain stayed; a subset have been carved out as not subject to the MDL’s
limited stay. See id. § 5 (excepting from the limited stay depositions permitted with the
United States’ approval and certain other depositions previously permitted by court
order). On November 13, 2019, the MDL court granted an extension of the terms of this
limited stay until March 15, 2020. Pretrial Order No. 108, Jn re: Generic
Pharmaceuticals Pricing Antitrust Litig., 2:16-MD-2724, ECF No. 1152 (E.D. Pa. Nov.

13, 2019).

Here, the October Order was carefully drawn to ensure substantial categories of
discovery—those unrelated to the United States’ ongoing criminal investigation—can
continue without delay. The limited stay only impacts “[d]epositions of individuals
involved in the sale, pricing, or marketing of generic pharmaceuticals in the United States
for Perrigo after January 1, 2013” and 30(b)(6) depositions relating to the same topics.
October Order, ECF No. 220 993 & 4.

Moreover, the United States has already identified a list of individuals—including
individuals whose depositions were otherwise covered by the limited stay—who may be
deposed immediately without objection by the United States. See id. § 3(a)-(c). The Lead
Plaintiff and Individual Action Plaintiffs (hereinafter, “Plaintiffs”) provided the United
States with a list of close to 90 potential deponents. Plaintiffs believed 75% of the
individuals named were not subject to the stay because they did not appear to be
connected to generic pharmaceuticals. The United States agreed with Plaintiffs and had
no objection to any of those individuals being deposed. For the remaining 25%, the
United States objected to less than half of the subset of individuals identified by
Plaintiffs. See Danks Declaration {J 11-12. If the Court grants the requested extension of
the October Order, and in an effort to minimize the impact of the limited stay, the United
States will identify additional depositions that can proceed without objection no later than

January 30, 2020.
Factors Weigh in Favor of Granting an Extension of the October Order

This Court “has broad discretion to stay proceedings.” Clinton v. Jones, 520 U.S.
681, 706 (1997) (citing Landis y. N. Am. Co., 299 U.S, 248, 254 (1936)). “[T]he power to
stay proceedings is incidental to the power inherent in every court to control the
disposition of the causes on its docket with economy of time and effort for itself, for
counsel, and for litigants.” Air Line Pilots Ass’n v. Miller, 523 U.S. 866, 879 n.6 (1998)
(quoting Landis, 299 U.S. at 254-55). A stay of civil proceedings in light of related
criminal proceedings may be warranted in appropriate circumstances. See, e.g., Texaco,
Inc. v. Borda, 383 F.2d 607 (3d Cir. 1967) (staying virtually all proceedings in a related

 

ECF No. 1070 (E.D. Pa. Aug. 15, 2019) (denying a motion to dismiss claims against

Perrigo New York, Inc. and Perrigo Company PLC).
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action indefinitely); SEC v. Mersky, Case No. 93-cv-5200, 1994 WL 22305, at *1 (E.D.
Pa. Jan. 25, 1994) (staying all proceedings for two months). The United States, aware of
the burden imposed by a stay, has not sought a stay of all discovery, but limited its
request to discovery that involves facts and witnesses in common with the United States’
criminal investigation.

Permitting discovery to resume related to Perrigo’s pricing, sale, and marketing of
generic pharmaceuticals in the United States risks causing significant harm to the United
States’ ongoing criminal antitrust investigation, including the risk that facts and
information likely to be revealed could jeopardize criminal investigative opportunities.
See Danks Declaration { 7—9. To determine whether a stay is warranted, a court must
“weigh competing interests and maintain an even balance.” Landis, 299 U.S. at 255. The
party seeking a stay “must make out a clear case of hardship or inequity in being required
to go forward|] if there is even a fair possibility that the stay [requested] will work
damage to some one else.” Jd. “Especially in cases of extraordinary public moment, the
[plaintiff] may be required to submit to delay not immoderate in extent and not
oppressive in its consequences if the public welfare or convenience will thereby be
promoted.” Jd. at 256.

In determining whether to stay a civil case because of a related criminal
investigation, courts have considered the following factors: (1) the extent to which the
issues in the criminal and civil cases overlap; (2) the status of the criminal case, including
whether the defendants have been indicted; (3) the plaintiff's interest in proceeding
expeditiously weighed against the prejudice to plaintiff caused by a delay; (4) the private
interests of and burden on defendants; (5) the interests of the court; and (6) the public
interest. Walsh Sec., Inc. v. Cristo Property Mgemt., Ltd., 7 F. Supp. 2d 523, 527 (D.N.J.
1998). Weighing the considerable harm posed to the United States’ criminal investigation
against the moderate delay for Plaintiffs, on balance, these factors counsel in favor of an

extension of the limited stay.

Common Issues between the Criminal and Civil Cases Weigh in Favor of
Granting the Extension of the October Order

Most critically, the allegations presented in this case are premised in part on the
same criminal conduct that the United States is currently investigating, and “[t]he
similarity of issues has been termed ‘the most important issue at the threshold’ in
determining whether or not to grant a stay.” Walsh Sec., Inc., 7 F. Supp. 2d at 527
(citation omitted). One of the “four key areas” where Defendants allegedly made material
misrepresentations and omissions is regarding “collusive pricing in Perrigo’s most
profitable division, generic drugs.” Amended Complaint, ECF No. 89, {ff 1, 6.

Specifically, some of Lead Plaintiffs allegations are premised on Perrigo’s
alleged participation in a criminal antitrust conspiracy affecting the price of generic
drugs. These allegations share common questions of law and fact with the United States’
criminal investigation into possible violations of the Sherman Act, 15 U.S.C. § 1, among
generic drug manufacturers. Further, some of the various generic pharmaceutical
manufacturers implicated by Lead Plaintiff's complaint are also affected by the United
States’ ongoing criminal investigation. See Danks Declaration §{{ 7-9, Exhibit B {J 14~
16 (providing additional reasons why permitting certain discovery poses risks to the
United States’ criminal investigation). The discovery at issue involves facts, witnesses,

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and legal determinations that are common to both this civil action and the United States’
ongoing criminal investigation. Accordingly, this most-important factor weighs heavily
in favor of granting a limited stay of discovery in this civil action.

Status of the United States’ Criminal Investigation

Details about the status and future outlook of the United States’ criminal antitrust
investigation remain non-public and highly sensitive. To aid the Court’s consideration,
the United States has submitted an ex parte, in camera filing. See Danks Declaration Jf
13-14, Exhibit C ] 8-10. While “[t]he strongest case for a stay of discovery in the civil
case occurs during a criminal prosecution after an indictment is returned,” “[iJt is still
possible to obtain a stay, even though an indictment or information has not yet been
returned, if the Government is conducting an active parallel criminal investigation,”
Walsh Sec., Inc., 7 F. Supp. 2d at 527 (citations omitted) (granting a stay where, although
no indictments had been issued, the Government had executed search warrants and issued
subpoenas to several defendants). Perrigo’s 2019 Form 10-K filing included a disclosure
that “U.S. federal and state prosecutors have issued subpoenas to a number of
pharmaceutical companies seeking information about their drug pricing practice.” Perrigo
Company plc Form 10-K, at 39, filed February 27, 2019. Perrigo has also previously
disclosed it was subject to a search warrant in May 2017. Id.

Plaintiffs Will Not Be Prejudiced by a 4-month Limited Stay of Certain
Depositions*

The proposed 4-month limited stay of certain depositions will allow nearly all
discovery to move forward without delay, and thus Plaintiffs will not be prejudiced.> The
bar for establishing prejudice from a moderate delay in proceedings is high. A plaintiff
must “establish more . . . than simply ‘the right to pursue his case and to vindicate his
claim expeditiously.’” State Farm Mut. Auto. Ins. Co. v. Beckham-Easley, Case No. 01-
cv-5530, 2002 WL 31111766, at *3 (E.D. Pa. Sept. 18, 2002) (citing Golden Quality Ice
Cream Co., Inc. v. Deerfield Specialty Papers, Inc., 87 F.R.D. 53, 56 (E.D. Pa. 1980));
see also Akishev v. Kapustin, 23 F. Supp. 3d 440, 447 (D.N.J. 2014) (“[M]ere’ delay
does not, without more, necessitate a finding of undue prejudice[.]”) (citation omitted).
Here, the moderate delay sought by the United States is not outweighed by any prejudice
to plaintiffs. The October Order was drafted to allow discovery of issues unrelated to the
United States’ ongoing criminal investigation to continue unimpeded, lessening the
prejudice to plaintiffs of a stay. The United States has also worked with the parties to
further limit the impact of the stay by confirming it will not object to depositions of
certain individuals who otherwise would have been subject to the stay. Moreover, the
United States has offered to identify additional individuals who may be deposed without
objection during the pendency of the proposed stay.

 

4 The proposed 4-month limited stay will also not overly burden Defendants.
> The United States is also requesting the other terms of the October Order be extended
until March 15, 2020. Extending the other terms laid out in the October Order for an
additional four months will also not prejudice plaintiffs.

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Interests of the Court and the Public Weigh in Favor of Extending the October
Order

The United States is aware that the Court may also be burdened by the stay, as the
Court has an interest in the “the disposition of the causes on its docket with economy of
time and effort[.]” Air Line Pilots Ass’n, 523 U.S. at 879 n.6 (quoting Landis, 299 U.S. at
254-55). Here, a stay advances the interest of the Court because further development in
the United States’ criminal investigation may “moot, clarify, or otherwise affect various
contentions in the civil case.” United States v. Mellon Bank, N.A., 545 F.2d 869, 873 (3d
Cir. 1976); In re Valeant Pharm. Int., Inc. Third-Party Payor Lit. Civ. A. No. 16-3087,
2017 WL 3429342, at *3 (D.N.J. Aug. 9, 2017).

Finally, the public’s interest weights in favor of granting the extension of the
October Order. The United States is “primarily charged by Congress with the duty of
protecting the public interest under [the antitrust] laws,” and civil lawsuits brought by
private plaintiff can only “supplement[] Government enforcement of the antitrust laws[.]”
United States v. Borden Co., 347 U.S. 514, 518 (1954); see also Howard Hess Dental
Labs. Inc. v. Dentsply Int'l, Inc., 602 F.3d 237, 249 (3d Cir. 2010) (citing Borden with
approval and noting that “the Government’s right and duty to seek an injunction to
protect the public interest exist without regard to any private suit or decree”). The public
has an interest in the United States being allowed “to conduct a complete, unimpeded
investigation into potential criminal activity.” Walsh Sec., Inc., 7 F. Supp. 2d at 529. The
public stands to benefit significantly from the United States’ efficient and effective
prosecution of criminal conduct.

Conclusion

For the reasons stated above, the United States respectfully requests the Court
. extend the October Order until March 15, 2020 to allow its investigation to proceed to a
point at which some, if not all, of these issues may be resolved. See Walsh Sec., Inc., 7 F.
Supp. 2d at 528 (acknowledging that, in six months, “individual defendants could have
more information about the extent of the Government’s investigation and their own
exposure to criminal liability”).° In the alternative, the United States requests leave to
file a motion to extend the October Order.

Respectfully sybmitted,

Elizabeth A. Gudis
Nathan D. Brenner

Trial Attorneys

U.S. Department of Justice
Antitrust Division

Counsel for Intervenor-United States

 

 

° If the Court grants the extension of stay, the United States reserves the right to seek a
further reasonable extension of the stay if warranted by circumstances. For additional
details, please see Paragraph 14 of the Danks Declaration. Conversely, if developments in
the investigation obviate the need for the stay prior to March 15, 2020, the United States

will notify the Court promptly.
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cc via ECF: Counsel for All Parties

 
